Case 2:O4-CV-02027-SHI\/|-STA Document 49 Filed 06/15/05 Pag'e 1 ot_2 Page|D 53

 

 

 

UNITED STA TES DISTRICT COURT F‘"ED "f -
WESTERN DISTRICT OF TENNESSEE]S JUN ¢5 PH ,2: 29
WESTERN DIVISION
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JACQUELINE E. ROBERTS, JUDGMENT IN A CIvIL CASE
Plaimiff,
V.
AIR LIQUIDE AMERICA, CoRP., CASE No: 04-2027-Ma
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance with the Stipulated Order Oi`
Dismissal entered on June 14, 2005, this cause is hereby dismissed with prejudice.

APPROVED:

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

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Date Clerk of Court

 

This document entered on the docket sheet in compliance
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This notice confirms a copy of the document docketed as number 49 in
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Honorable Sarnuel Mays
US DISTRICT COURT

